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     William E. Bonham, SB# 55478
 1   Attorney at Law
     Hotel de France Bldg., Old Sacramento
 2   916 Second Street, 2nd Floor, Ste. A
     Sacramento, California 95814
 3
     Telephone: (916) 557-1113
 4   Facsimile: (916) 557-1118
     Email: billbonham@mylaw.comcastbiz.net
 5
     Attorney for John CONN
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 9
               IN THE UNITED STATES DISTRICT COURT FOR THE
10
11
                        EASTERN DISTRICT OF CALIFORNIA

12
13
     UNITED STATES OF AMERICA,             )       No. 2:07-CR-570 FCD
14
                                           )
15                      Plaintiff,         )       STIPULATION AND ORDER
16
                                           )       TO CONTINUE STATUS
                  v.                       )       CONFERENCE / CHANGE OF
17                                         )       PLEA
18   JOHN WAYNE CONN,                      )
                                           )
19
                        Defendant.         )
20                                         )
21                                         )

22
           Defendant, John Conn, through his undersigned counsel, and the United
23
24   States through its undersigned counsel, hereby stipulate and request that the Court
25
     continue the Status Conference, in the above- captioned case, from Monday,
26
27   November 23, 2009 at 10:00 a.m., to Monday, December 7, 2009 at 10:00 a.m.
28




                                               1
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 1         A continuance is necessary because a plea agreement has been provided and
 2   defense counsel needs time to review it with his client and for further plea
 3
     negotiations with the government.
 4
 5         The parties also stipulate that time should be excluded under the Speedy
 6
     Trial Act due to needs of counsel to prepare for sentencing and ongoing plea/
 7
 8   sentencing negotiations. [Local Code T4 & T2]
 9
           I, William E. Bonham, the filing party have received authorization from
10
11   AUSA Heiko Coppola, to sign and submit this stipulation and proposed order on
12   their behalf and defense counsel has authorization from his respective client.
13
14
           Accordingly, the defense and the United States agree and stipulate that the

15   Status Conference for defendant, John Conn, should be continued until Monday,
16
     December 7, 2009 at 10:00 a.m.
17
18   Dated: November 19, 2009
19
                                                         LAWRENCE G. BROWN
20                                                       United States Attorney
21
                                                       By: /s/ Heiko Coppola
22
                                                         HEIKO COPPOLA
23                                                       Assistant U.S. Attorney
24
     Dated: November 19, 2009
25                                                       By: /s/ William E. Bonham
26                                                       WILLIAM E. BONHAM
                                                         Attorney for defendant
27
                                                         JOHN CONN
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                                               2
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 1                                        ORDER
 2
 3         IT IS SO ORDERED. Status Conference for John Conn, currently set for
 4
     Monday, November 23, 2009 at 10:00 a.m. should be vacated and continued until
 5
 6   Monday, December 7, 2009 at 10:00 a.m.
 7
           I find that the continuance is necessary and that time should be excluded
 8
 9   under the Speedy Trial Act due to needs of counsel for additional time in ongoing
10
     sentencing preparation [Local Code T4 & T2]. Accordingly, time should be
11
12   excluded under the Speedy Trial Act due to needs of counsel to prepare [Local
13   Code T4 & T2], up to and including December 7, 2009.
14
15
16   Dated: November 19, 2009
                                           _______________________________________
17
                                           FRANK C. DAMRELL, JR.
18                                         UNITED STATES DISTRICT JUDGE
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